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DOCKET NO. 654 PATA Eine:
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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE GENERAL ELECTRIC SECURITIES LITIGATION
TRANSFER ORDER*

This litigation presently consists of five actions pending in two
federal districts: four actions in the Eastern District of
Pennsylvania and one action in the District of Connecticut. Before
the Panel are a motion and a cross-motion, pursuant to 28 U.S.C.
§1407, by the Pennsylvania plaintiffs and by the General Electric
Company (General Electric), respectively, to centralize the actions
for coordinated or consolidated pretrial proceedings. All responding
parties agree that the actions should be centralized under Section
1407; the parties only dispute is over the selection of the
appropriate transferee district. Plaintiffs in three Pennsylvania
actions seek centralization in the Eastern District of Pennsylvania,
while the Connecticut plaintiff and General Electric favor
centralization in the District of Connecticut.

@ On the basis of the papers filed and the hearing held, the Panel

ds that the actions in this litigation involve common questions of
fact and that centralization under Section 1407 in the District of
Connecticut will best serve the convenience of the parties and

“witnesses and promote the just and efficient conduct of this
litigation. All actions arise out of the alleged fraud by General
Electric in connection with its performance under certain contracts .
with the United States. Centralization under Section 1407 is
desirable in order to avoid duplicative discovery, prevent
inconsistent pretrial rulings, and conserve the resources of the
parties, their counsel and the judiciary.

We. are persuaded that the District of Connecticut is the
appropriate transferee forum. We note that General Electric's
principal place of business is located in Connecticut and thus
relevant documents and witnesses will likely be located in that
vicinity.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the
actions listed on the attached Schedule A and pending in the Eastern
District of Pennsylvania be, and same hereby are, transferred to the

* Judge Milton Pollack recused himself and took no part in the
ision of this matter.

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>. of Connecticut and, with the consent of that court, assigned
to the Honorable Warren W. Eginton for coordinated or consolidated
pretrial proceedings with the action pending in that district and
listed on Schedule A.

FOR THE PANEL:

Chau q. Cf, AN bng

Andrew A. cartéey /
Chairman

 
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SCHEDULE A

MDL-654 -- In re General Electric Securities Litigation

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District of Connecticut

Jonathan Scharff, et al. v. General Electric Co., C.A. No.
B-85-184

Eastern District of Pennsylvania

David Grobow v. General Electric Co., et al.,
. C.A. No. 65-2727
Harry Voege v. General Electric Co., et al.,
C.A. No. 85-2764
Albert Ominsky, et al. v. General Electric Co., et al.,
C.A. No. 55-2802
Faye Mozes, et al. v. John F. Welch, et al.
C.A. No. 85-4152
